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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS


BRIAN SKIBYAK,

       Plaintiff,                                     Case No. 3:24-cv-263
vs.

Equifax Information Services LLC, et al.,             STIPULATION FOR DISMISSAL
                                                      WITH PREJUDICE AS TO
       Defendants.                                    NATIONSTAR MORTGAGE LLC




       IT IS HEREBY STIPULATED AND AGREED by and among Plaintiff and Defendant,

Nationstar Mortgage LLC, ONLY, by and through his undersigned attorneys, that all claims by

Plaintiff against Defendant Nationstar Mortgage LLC, ONLY, shall be dismissed with prejudice,

on its merits and in its entirety and without an award of costs, disbursements or attorneys’ fees to

either Plaintiff or Defendant.



Dated: 07/08/2024                              RESPECTFULLY SUBMITTED,

                                               Fields Law Firm

                                               /s/ Matthew P. Forsberg
                                               MATTHEW P. FORSBERG
                                               Reg. No. 24082581
                                               FIELDS LAW FIRM
                                               9999 Wayzata Blvd.
                                               Minnetonka, MN 55305
                                               T: (612) 383-1868
                                               F: (612) 370-4256
                                               Matt@FieldsLaw.com

                                               LAW OFFICE OF JONATHAN A. HEEPS
                                               /s/ Jonathan A. Heeps


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                                     Jonathan A. Heeps
                                     TX Bar No.: 24074387
                                     Post Office Box 174372
                                     Arlington, TX 76003
                                     T: (682) 738-6415
                                     F: (844) 738-6416
                                     Email: jaheeps@heepslaw.com

                                     Counsel for Plaintiff


Dated: 07/08/2024                    McGuireWoods LLP

                                     /s/ Andrew N. Bernardini
                                     Andrew N. Bernardini
                                     NC Bar No. 29107 (and admitted to practice
                                     In the USDC, NDTX)
                                     201 North Tryon Street, Suite 3000
                                     Charlotte, NC 28202-2146
                                     T: (704) 373-4616
                                     F: (704) 373-8824
                                     abernardini@mcguirewoods.com



                                     Counsel for Defendant




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